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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

EDWIN ARNOLDO REYES,                             :

       Petitioner                                :

v                                                :           Civil Action No. PJM-09-1224
                                                             Criminal No. PJM-01-533
UNITED STATES OF AMERICA                         :

       Respondent                                :
                                                o0o

                                  MEMORANDUM OPINION

       On May 11, 2009, Petitioner filed the above-captioned motion to vacate pursuant to 28

U.S.C. §2255. Paper No. 720. For the reasons that follow, the motion to vacate must be dismissed

without prejudice for lack of jurisdiction.

       Petitioner filed his first motion to vacate on January 27, 2005. Paper No. 613. The motion

was denied on July 29, 2005. Papers No. 637 and 638. The instant motion, therefore, represents

a second or successive §2255 challenge to Petitioner’s conviction. As such, the motion may not be

considered absent leave to do so from the Fourth Circuit Court of Appeals. See 28 U.S.C.

§§2244(b)(3)(A)& 2255; In re Avery W. Vial, 115 F.3d 1192, 1194 (4th Cir. 1997) (en banc). Under

28 U.S.C. §2255:

                       A second or successive motion must be certified as
                       provided in section 2244 by a panel of the appropriate
                       court of appeals to contain–(1) newly discovered
                       evidence that, if proven and viewed in light of the
                       evidence as a whole, would be sufficient to establish
                       by clear and convincing evidence that no reasonable
                       fact finder would have found the movant guilty of the
                       offense; or (2) a new rule of constitutional law, made
                       retroactive to cases on collateral review by the
                       Supreme Court, that was previously unavailable.

       Petitioner has not received the proper certification from the Fourth Circuit. Consequently,
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this Court may not consider the merits of his claim unless and until certification is obtained.

       The United States Court of Appeals for the Fourth Circuit has set forth instructions for the

filing of a motion to obtain the aforementioned authorization order. The procedural requirements

and deadlines for filing the motion are extensive. Consequently, the Court shall provide Petitioner

a packet of instructions promulgated by the Fourth Circuit which addresses the comprehensive

procedure to be followed should Petitioner wish to seek authorization to file a successive petition

with the appellate court. It is to be emphasized that Petitioner must file his pleading with the Fourth

Circuit Court of Appeals and obtain authorization to file his successive petition before this Court

may examine his claims.

       A separate order follows.



                                                                   /s/
                                                             PETER J. MESSITTE
May 14, 2009                                           UNITED STATES DISTRICT JUDGE




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